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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 STATE OF NEW JERSEY, et al.

                                  Plaintiffs,
                                                                      No. 1:25-cv-10139
         v.

 DONALD J. TRUMP, et al.

                                  Defendants.



        MOTION FOR ADMISSION PRO HAC VICE OF GABE JOHNSON-KARP

        Pursuant to Local Rule 83.5.3, I, Gerard J. Cedrone, a member of the bar of this Court and

counsel of record for Plaintiff Commonwealth of Massachusetts, hereby move the admission pro hac

vice of attorney Gabe Johnson-Karp, a member of the bar of the State of Wisconsin, to serve as counsel

for Plaintiff State of Wisconsin in this matter.

        As set forth in the accompanying certification, Gabe Johnson-Karp is (1) a member in good

standing of the bar of every jurisdiction to which he has been admitted to practice, (2) is not the subject

of disciplinary proceedings pending in any jurisdictions in which he is a member of the bar, (3)

has not previously had a pro hac vice admission to this Court (or other admission for a limited

purpose under Local Rule 83.5.3) revoked for misconduct, and (4) has read and agreed to comply

with the Local Rules of this District.

        WHEREFORE, this Court should admit attorney Gabe Johnson-Karp pro hac vice to the

bar of this Court.
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January 21, 2025                      Respectfully submitted.

                                      ANDREA JOY CAMPBELL
                                       ATTORNEY GENERAL OF MASSACHUSETTS

                                       /s/ Gerard J. Cedrone
                                      Gerard J. Cedrone (BBO No. 699674)
                                         Deputy State Solicitor
                                      Office of the Attorney General
                                      One Ashburton Place, 20th Floor
                                      Boston, MA 02108
                                      (617) 963-2282
                                      gerard.cedrone@mass.gov

                                      Counsel for the Commonwealth of
                                       Massachusetts




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